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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

UNITED STATES OF AMERICA          §
                                  §
VS.                               §                CR NO. 3:04-CR-240-P
                                  §
HOLY LAND FOUNDATION              §
FOR RELIEF AND DEVELOPMENT, §
     also known as the “HLF” (01) §
SHUKRI ABU BAKER, (02)            §                       ECF
MOHAMMED EL-MEZAIN, (03)          §
GHASSAN ELASHI, (04)              §
HAITHAM MAGHAWRI, (05)            §
AKRAM MISHAL, (06)                §
MUFID ABDULQADER, (07) and        §
ABDULRAHMAN ODEH (08)             §


          GOVERNMENT’S SECOND SUPPLEMENTAL TRIAL BRIEF

       The United States submits this supplemental trial brief in support of the evidence

and arguments relied upon in its case-in-chief. The purpose of this submission is to

refresh and update the government’s previously filed Trial Briefs [ecf # 656, 757],

provide the Court with an overview of the case and the different kinds of evidence that

the government will seek to admit at trial, and to bring to the Court’s attention evidentiary

issues that arose during the first trial. This submission does not repeat all of the issues

raised in the government’s earlier Trial Briefs, and this supplemental Trial Brief should

be construed as incorporating those earlier matters as if they were fully set forth herein.




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                              I. PROCEDURAL HISTORY

       On July 26, 2004, a federal grand jury indicted the above-named defendants in a

42 count indictment. The indictment charged the defendants with conspiracy to provide

material support to a designated foreign terrorist organization; twelve counts of providing

material support to a foreign terrorist organization; conspiracy to provide funds, goods

and services to a Specially Designated Terrorist; twelve counts of providing funds, goods

and services to a Specially Designated Terrorist; conspiracy to commit money laundering;

twelve counts of money laundering; one count of conspiracy to impede the Internal

Revenue Service and to file false tax returns; and three counts of filing false tax returns of

an organization exempt from income tax. The defendants Akram Mishal and Haitham

Maghawri have not been arrested in this case and are fugitives.

       The first trial of this matter began July 16, 2007. The jury was unable to reach a

verdict on any count against defendants HLF, Baker, Elashi, Abdulqader and Odeh. With

respect to defendant El-Mezain, the jury hung on Count I and acquitted on the remaining

counts. On August 29, 2008, the government dismissed the non-conspiracy counts

against Abdulqader and Odeh only. All defendants will be retried beginning September

15, 2008.

                            II. FACTUAL BACKGROUND

       As set forth in the superceding indictment, Hamas is an international terrorist

organization with the stated objective of destroying the State of Israel and replacing it



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with an Islamic state comprised of what is now Israel, the West Bank and the Gaza Strip.

Hamas is organized into distinct wings, or bureaus, that perform different functions, but

operate as a seamless whole. It includes a military wing, responsible for carrying out

suicide bombings and other terrorist attacks; a social wing, which operates much like a

social welfare agency; and a political wing, which sits above the military and social wings

and is responsible for setting policies and guidelines regarding Hamas’ activities. The

defendant Holy Land Foundation (HLF), sometimes called “the Fund,” was an integral

part of the Hamas social infrastructure. Not only did HLF operate to support the Hamas

agenda, but it was created for that very purpose.

       On January 24, 1995, pursuant to Executive Order 12947, the President designated

Hamas as a Specially Designated Terrorist organization. This designation makes it illegal

for any United States person or entity to engage in any unlicensed transactions or dealings

involving the property or interests of Hamas. Hamas’ designation as a Specially

Designated Terrorist organization has remained in place since January 24, 1995. On

October 8, 1997, the Secretary of State, pursuant to the laws of the United States,

designated Hamas as a “Foreign Terrorist Organization.” As a result of this designation,

it became illegal for any person within the United States or subject to its jurisdiction to

provide material support or resources to Hamas.




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       A. The Rise of Hamas in the United States

       The conspiracy surrounding this case and involving these defendants began years

before the enactment of the Executive Order and material support statutes at issue. In late

1987, violent confrontations between the Palestinians and Israelis sharply increased, and

Palestinian demonstrations evolved into wide-spread physical resistence. This grass-roots

resistence to the Israeli presence in the West Bank and Gaza was labeled the First

Intifada, an Arabic term translated as “uprising.”

       At the outbreak of the First Intifada, Sheik Ahmed Yassin, an Islamic cleric from

Gaza, was the leader of the Palestinian branch of the Muslim Brotherhood.1 Sheik Yassin

and his followers, fueled by their resentment of Israel’s existence and a fundamentalist

Islamist ideology, were instrumental in the First Intifada. While many Palestinians were

satisfied to have a “two state solution” to the conflict, this was not an acceptable

compromise for Sheik Yassin and his followers.

       In December 1987, Sheik Yassin, among others, formally established Harakat al-

Muqawamah al-Ilamiyya, Arabic for the “Islamic Resistance Movement” (known by its

acronym, Hamas). Hamas’ founding charter makes clear that Hamas is, in fact, the

Palestinian branch of the Muslim Brotherhood, and calls for the annihilation of Israel

through “jihad” (holy war), and the creation of an Islamic state in its place. Hamas


       1
         The Muslim Brotherhood is an international, Islamic fundamentalist movement, which started in
Egypt in 1928, under the following of Islamic leader Sheik Hassan Al Banna. The Brotherhood – also
called the “Ikwan” – has members and branches all around the world, including the United States, and is
divided into sub-groups along ethnic and nationalistic lines.

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defines jihad as including violent activities, with such violent activities being carried out

by Hamas’ military wing, commonly known as the Izz Al-Din Al-Qassam Brigades (“Al-

Qassam Brigades”). Hamas frequently engages in suicide bombings, whereby a person is

smuggled into a civilian population center in Israel wearing an explosive vest, and then

detonates the explosives at the moment calculated to inflict the most damage. Often, a

second bomber follows, detonating his explosive device once a crowd of first responders

have gathered around the wreckage of the first bombing.

        In addition to violent jihad, the Hamas charter also calls for charity as a means of

securing the population’s loyalty. Through social responsibility, the charter explains,

"brotherliness would deepen, cooperation, sympathy and unity will be enhanced and the

ranks will be solidified to confront the enemies.”

       Sheik Yassin designed Hamas on the model of the Muslim Brotherhood, which, in

addition to armed, paramilitary action, builds its strength on providing for the needs of the

people as a means of gaining popular support for the Movement and acceptance of its

Islamic fundamentalist way of life. Through this grass-roots approach, (known as dawa -

“preaching” or “calling”), Hamas achieves a number of goals. Among other perceived

benefits, it (1) assures popular support for the movement, and through its popular support

improves its ability to compete with opposing political factions; (2) provides a base from

which to indoctrinate and recruit future activists, including military recruits, to carry out

suicide bombings and other terrorist acts; (3) provides a benign cover through which



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millions of dollars can be transferred from overseas into Hamas operated or controlled

institutions; and (4) since money is fungible, the overseas support for the dawa frees

resources that can then be devoted to terrorist activity.

          In order to raise the requisite funds to support its operations, including its social

support network, Hamas looked outside of the Palestinian areas, to individuals,

organizations and foreign governments sympathetic to its mission, including the United

States.

          By the outbreak of the First Intifada, the Muslim Brotherhood in the United States

was significant and well organized. In 1987, the governing body of the International

Muslim Brotherhood decided to focus its mission on the Palestinian issue, and directed

that Palestine Committees be formed in countries throughout the world. In the United

States, the Palestine Committee was comprised of active Muslim Brotherhood members

of Palestinian origin. The leader of the Palestinian Committee in the United States at that

time was unindicted co-conspirator Mousa Abu Marzook. Marzook is now – and has

been since 1995 – a Specially Designated Terrorist and Hamas leader. In fact, in the early

1990s, Marzook left his post as a leader of the United States-based Muslim Brotherhood

and Palestinian Committee to take over as Hamas’ Political Bureau Chief, the

organization’s highest official position.




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       B. Documents Seized from Co-Conspirator Ismail Elbarasse

       The creation and growth of the Palestine Committee in the United States are

evidenced in part by documents that the government seized in 2004 from the Virginia

home of unindicted co-conspirator and Palestinian Committee member Ismail Elbarasse.

As shown by those documents and other evidence, the Muslim Brotherhood directed its

Palestinian Committees throughout the world, including the United States, to carry out the

mandate of assisting Sheik Yassin and his newly-formed Hamas Movement. In

accordance with that mandate, the Palestinian Committee in the United States, which

included the defendants Elashi, Baker and El-Mezain, oversaw a number of sub-

organizations charged with varying missions calculated to comprehensively address

Hamas’ needs. These organizations included the United Association for Studies and

Research (UASR) (“think tank”), the Islamic Association of Palestine (IAP) (propaganda

and information) and the Occupied Land Fund (OLF) (money), later to become the

defendant HLF. The defendant Shukri Abu Baker was in charge of the HLF and, along

with the defendants El-Mezain and Elashi, set out to establish what would become the

highest grossing Islamic charity in the United States.

       The UASR involved, among others, unindicted co-conspirators Mousa Abu

Marzook (a Hamas leader) and Yousef Saleh, a.k.a. Ahmed Yousef, and was designed for

ideological research and development intended to promote a fundamentalist view of the

Palestinian issue. The UASR was also involved in passing Hamas communiques to the



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United States-based Muslim Brotherhood community and relaying messages from that

community back to Hamas. The IAP, which involved the defendant Ghassan Elashi as an

original incorporator and bank account signatory, was designed as a propaganda facility,

responsible for Intifada festivals (involving the defendant HLF), pro-Hamas publications,

and the general rallying of support within the American Muslim community. The IAP

was the first organization to publish an English version of the Hamas charter. Further,

during their existence, unindicted co-conspirator and Hamas leader Mousa Abu Marzook

funneled well over a million dollars into the three organizations (UASR, IAP, OLF/HLF)

during a time when he was an unemployed graduate student.

       The defendant HLF’s role was to subsidize Hamas’ vital social recruitment and

rewards program designed to win the hearts and minds of the Palestinian population and

solidify loyalty to Hamas. In order for Hamas to achieve its objectives, it had to win the

broad support of the Palestinian population, and it needed a way to bring in large amounts

of cash from abroad. The defendant HLF set out to do both. Moreover, the HLF did not

embark on this mission alone. Throughout the world, organizations similar to the HLF

were being established to achieve the same mission of supporting Hamas.

       C. The Philadelphia Conference

       Although there are varying accounts as to the exact date at which the First Intifada

officially ended, by most accounts, 1993 and the signing of the Oslo Accords, officially

called the Declaration of Principles on Interim Self-Government Arrangements, signified



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the end. The Oslo Accords were a dramatic event in the Israeli-Palestinian conflict So,

too, were the Oslo Accords significant in the United States, as President Clinton brokered

the agreement and held a nationally televised signing in Washington, D.C. on September

13, 1993, between Yasser Arafat (PLO Chairman) and Israel’s Prime Minister Yitzhak

Rabin and his foreign minister, Shimon Peres. The agreement had several significant

aspects, including the withdrawal of Israeli forces from parts of the West Bank and Gaza,

and the creation of the Palestinian National Authority (PA), headed by PLO Chairman

Yasser Arafat. Under the plan, the PA would perform the services previously provided

by Israel, including education, health, social welfare, taxation and tourism. The

agreement also included Letters of Mutual Recognition, whereby the Israeli government

recognized the PA as the legitimate representative of the Palestinian people, while the

PLO recognized the right of Israel to exist and renounced terrorism, violence and the

desire for the destruction of Israel.

       The Oslo Accords were not, however, universally accepted. Hamas rejected the

agreement for its unacceptable condition of recognizing Israel’s right to exist. For

Hamas, the Oslo Accords were a threat to Hamas’ survival and in direct confrontation

with its most valued tenet - the destruction of the State of Israel and the creation of an

Islamic state in all of what is today Israel, the West Bank, and the Gaza Strip.

       For Hamas’ support network in the United States (the Palestine Committee), the

signing of the Oslo Accords and America’s brokering of the agreement presented a



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difficult challenge. The Oslo Accords had provided a degree of public expectation for a

peaceful resolution to the historic conflict. In order for the Palestine Committee to fulfill

its mandate of assisting and strengthening Hamas, it would have to be much more

cautious and organized in its efforts, so as to avoid overt alignment with a group now

dedicated to undermining the American-backed peace process.

       In October 1993, less than one month after the public signing of the Oslo Accords,

approximately 20 members of the Palestine Committee gathered together in Philadelphia,

Pennsylvania to discuss how to proceed in light of the Olso Accords. The defendants

Shukri Abu Baker, Ghassan Elashi and Mufid Abdulqader were present. Although

expected to attend, the defendant Muhammad El-Mezain was ill and unable to attend.

       The Federal Bureau of Investigation (FBI) was still in the early stages of its

investigation of Hamas in the United States when the Palestine Committee met in

Philadelphia. One of the initial Hamas cases investigated by the FBI involved unindicted

co-conspirator Abdelhalem Ashqar, an Oxford, Mississippi-based Hamas activist. The

FBI learned of the Philadelphia meeting through the Ashqar investigation and, as a result,

the FBI obtained a warrant from the Foreign Intelligence Surveillance Court to monitor

the meeting, which lasted approximately three days.

       During the meeting, the participants openly discussed the problems that the Oslo

Accords posed for achieving their objectives and strategized about how best to defeat the

peace process. The United States was fertile ground for fundraising and propaganda,



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offering the essential Constitutional protections which afforded the freedom to operate.

Since the United States had publicly positioned itself behind the peace process, the

attendees were concerned that disclosure of their true purpose would threaten their

established infrastructure by aligning them with what they knew was a terrorist

organization. Attendees were admonished not to mention “Hamas,” but rather to refer to

it as “Samah,” which is Hamas spelled backwards. Attendees questioned how they could

continue their quest to defeat the peace process without being viewed as “terrorists.”

They discussed their concern that the peace process would attract Palestinian support and

further complicate their ultimate goal of creating an Islamic state throughout Israel. They

agreed that they must operate under an ostensible banner of apolitical humanitarian

exercise in order to continue supporting Hamas’ vital social recruitment effort.

       In order to facilitate their continued support of Hamas, the attendees discussed the

method by which they could provide financial support without an overt alignment with

Hamas. That method involved supporting institutions, organizations and programs in the

West Bank and Gaza aligned with the Hamas movement. Attendees identified several

organizations and zakat committees as “ours.” The infiltration and control of social

committees and organizations providing humanitarian relief in the West Bank and Gaza

provided a perfect opportunity for Hamas to widen and strengthen its grip on the

Palestinian population. Countless interviews and speeches by Hamas leaders have lauded

its social apparatus as the bedrock of the organization, and the primary source of its



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influence in the region. This influence would continue to grow, culminating in Hamas’

rise to political power, and violent take-over of the Gaza Strip from the PA.

       D. Hamas’ Designation as a Terrorist Organization

       By 1995, Hamas had made clear its intention to violently derail the peace process

by undermining what was perceived as a corrupt and ineffective PA. It did so by

increasing its violent campaign of suicide bombings, kidnappings and other paramilitary

actions. The United States fully realized the significant impediment that Hamas and other

Islamic extremist organizations posed to the peace process. In response, President

Clinton issued Executive Order 12947 (January 23, 1995), which declared a national

emergency and made it unlawful to support organizations and individuals committed to

disrupting the Middle East peace process. Hamas was included in the Annex to the

original Executive Order, and officially became a Specially Designated Terrorist; a

designation status created by Executive Order 12947. Subsequently, in 1996, Congress

passed the Antiterrorism and Effective Death Penalty Act (AEDPA), which created the

term “Foreign Terrorist Organization” and resulted in the codification of the material

support statute of Title 18, United States Code, Section 2339B. In October 1997, the

State Department listed Hamas as a Foreign Terrorist Organization.

       The new statutes enacted pursuant to Executive Order 12947 and AEDPA

prohibited the provision of any type of support – including charitable – to any component

of the designated organization. This broad prohibition recognized the vital role a terrorist



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group’s social infrastructure plays in strengthening the movement by exploiting the needs

of the civilian population and providing radical indoctrination through its schools and

social programs.

       The defendants were well aware of Executive Order 12947 and AEDPA and

expressed considerable concern over the laws’ application. Wiretaps and search warrant

material revealed significant exposure to and familiarity with the laws. Once again, the

defendants were forced to adapt to a changing environment. The tone and language of

the conferences, publications and speakers supported by the defendants began to change

in order to avoid being publicly associated with Hamas and its agenda. Conference tapes

possessed by and involving the defendants and the organizations of the Palestine

Committee reveal the contrast before and after the designations. These early tapes reveal

the true spirit and intent behind the defendants’ activities and unveil the purpose and

motive of their organizations.

       In the years following the new anti-terrorism laws, the defendants continued

providing support to the same organizations and institutions that they supported prior to

the legislation; however, much more of the defendant HLF’s money was being diverted to

its own offices and/or representatives located throughout the West Bank and Gaza, which

would then be passed to the zakat committees and charitable organizations. Between

1995 and December 2001, the defendant HLF delivered hundreds of thousands of dollars

into the West Bank and Gaza to construct schools, medical clinics, libraries and other



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community-based facilities, in addition to supporting individuals and families of

individuals arrested, detained or injured during violent confrontations with Israel. This

aid continued to be distributed through an insular network of charity committees

controlled by Hamas, including many of the same committees identified as “ours” in the

1993 Philadelphia Conference.

       In September 2000, the violence between Israel and the Palestinians was reignited,

and quickly escalated into what was labeled the Second Intifada. The Second Intifada

resulted in numerous arrests, detentions, suicide bombings, and confrontation-related

injuries and deaths. The defendant HLF was quick to respond and show its support for

the uprising.

       Various operations and initiatives were conducted by Israel during the Second

Intifada in an effort to diminish the rapidly growing use of suicide bombings, kidnappings

and other violent techniques aimed at threatening Israel’s civilian and military

populations. On March 27, 2002, on the eve of the Jewish holiday of Passover, a Hamas

operative entered a hotel in a resort town of Natanya and blew himself up. Among the

many killed were elderly people gathered for the traditional Passover meal, several of

whom were Holocaust survivors. In response, Israel launched Operation Defensive

Shield, which targeted the Hamas infrastructure, including certain Islamic charitable

institutions in the West Bank. This effort, and others that followed, reflected Israel’s

increasing realization that Hamas’ social network of institutions and programs was a



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significant contributor to Hamas’ ability to execute terrorist operations. Israel believed

the targeted institutions were providing employment and cover for Hamas operatives, in

addition to creating an environment through its schools, clinics and mosques that praised

terrorist activities, facilitated recruitment, and significantly perpetuated the violent

confrontation.

       Hamas used its leadership role in the Second Intifada and the loyalty it gained

through its provision of social services to catapult itself into Parliamentary control.

Shortly thereafter, it attacked the PA, and ousted them from control in the Gaza Strip. The

PA remains the governing body in the West Bank. Hamas is now the controlling entity of

the PA. While Hamas’ suicide bombings and other violent engagement with Israel are

paramount in the public awareness, it is its social infrastructure that Hamas credits with

its rise to power.

       Over the years, the PA would, from time to time, attempt to take measures against

the zakat committees and other organizations run by Hamas. Closures, however, were

always short lived, a product of the political reality in which the PA needed Hamas to

provide services that it was unable to effectively provide itself. After Hamas attacked the

PA and took control of Gaza, however, the PA began to take more serious measures

against the Hamas social infrastructure. In December 2007, the PA reorganized the zakat

committees into districts, and began an attempt to enforce existing laws that previously

went ignored. Hamas decried these measures, and in numerous Arabic publications



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declared the PA’s actions to be directed against Hamas, a position which confirms the

fact that Hamas controlled these committees and organizations.

       E. The Hamas International Fundraising Network

       Neither the HLF nor the U.S.-based Palestinian Committee worked in isolation on

behalf of Hamas. HLF was a vital member of Hamas’ international network of

organizations dedicated to financing the Hamas agenda, and worked in conjunction with

organizations in Europe and throughout the world to funnel money to the same closed

network of Hamas-controlled charity committees in the West Bank and Gaza. These

other organizations -- including The Palestinian Relief and Development Fund (Interpal)

in Great Britain, the Al-Aqsa Foundation in Germany, Belgium and Holland, the Comite’

de Bienfaisance et de Secours aux Palestiniens (CBSP), in France, the Association de

Secours Palestinien (ASP) in Switzerland; the Palestinian Association in Austria (PVOE);

and the Palestinian Branch of the World Organization of Muslim Youth (WAMY) --

operated in much the same way as HLF, sharing fundraising techniques, projects, and

connections to Hamas leaders. Interpal, Al-Aqsa, CBSP, ASP and PVOE are all

designated as terrorist organizations in the United States.

                           III. CHARGES AND ELEMENTS

       The following chart shows the charges contained within the superseding

indictment and which defendants are named in which counts:




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       DEF.         CT.                             CHARGE

 All            1         Conspiracy to Provide Material Support to a Foreign Terrorist
                          Organization, 18 U.S.C. § 2339B(a)(1)

 HLF,           2 - 10    Providing Material Support to a Foreign Terrorist
 Baker,                   Organization, 18 U.S.C. § 2339B(a)(1) and 18 U.S.C. § 2
 Elashi

 HLF,           11        Conspiracy to Provide Funds, Goods and Services to a
 Baker,                   Specially Designated Terrorist, 50 U.S.C. §§ 1701-1706, 31
 Elashi,                  C.F.R. § 595.201
 Abdulqader,
 Odeh

 HLF,           12 -21    Providing Funds, Goods and Services to a Specially
 Baker,                   Designated Terrorist, 50 U.S.C. §§ 1701-1706, 31 C.F.R. §
 Elashi                   595.201 and 18 U.S.C. § 2



 HLF,           22        Conspiracy to commit money laundering, 18 U.S.C. § 1956(h)
 Baker,
 Elashi,
 Abdulqader,
 Odeh

 HLF,           23 - 32   Money laundering, 18 U.S.C. § 1956(a)(2)(A)
 Baker,
 Elashi

                33        Conspiracy to impede and impair the Internal Revenue Service
 Baker,                   and to File False Return of Organization Exempt from Income
 Elashi                   Tax, 18 U.S.C. § 371

                34 - 36   Filing false returns of Organization Exempt from Income Tax,
 Baker,                   26 U.S.C. § 7206(1)
 Elashi



        The following chart shows the elements for each offense named in the superseding

indictment:

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     CT.           CHARGE                                  ELEMENTS

 1         Conspiracy to Provide        First, that two or more persons agreed to provide
           Material Support to a        material support or resources to a foreign
           Foreign Terrorist            terrorist organization;
           Organization, 18 U.S.C. §    Second, that the defendant knowingly became a
           2339B(a)(1)                  member of the conspiracy with the intent to
                                        further its unlawful purpose;
                                        Third, that the charged conspiracy existed on or
                                        after October 8, 1997, the date on which Hamas
                                        was designated a foreign terrorist designation,
                                        and that the defendant was a member of the
                                        conspiracy on or after that date.

 2 - 10    Providing Material           First, that the defendant in question provided
           Support to a Foreign         material support or resources to a foreign
           Terrorist Organization, 18   terrorist organization;
           U.S.C. § 2339B(a)(1) and     Second, that the defendant in question did so
           18 U.S.C. § 2                knowingly; and
                                        Third, that this court has jurisdiction over the
                                        offense.

 11        Conspiracy to Provide        First: that two or more persons agreed to provide
           Funds, Goods and             funds, goods or services to a Specially
           Services to a Specially      Designated Terrorist;
           Designated Terrorist, 50     Second: that the defendant knew the purpose of
           U.S.C. §§ 1701-1706, 31      the agreement and joined in it willfully, that is,
           C.F.R. § 595.201             with the intent to further the unlawful purpose;
                                        and
                                        Third: that one of the conspirators during the
                                        existence of the conspiracy knowingly
                                        committed at least one overt act in order to
                                        accomplish some object or purpose of the
                                        conspiracy.




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 12 - 21   Providing Funds, Goods        First: that the defendant himself or, by aiding
           and Services to a Specially   and abetting another defendant or by being
           Designated Terrorist, 50      aided or abetted by another defendant,
           U.S.C. §§ 1701-1706, 31       contributed funds, goods, or services to, or for
           C.F.R. § 595.201 and 18       the benefit of a Specially Designated Terrorist;
           U.S.C. § 2                    Second: that such funds, goods or services were
                                         in the United States, or thereafter came within
                                         the United States, or thereafter came within the
                                         possession or control of United States persons;
                                         Third: that the defendant did so knowingly and
                                         willfully.

 22        Conspiracy to commit          First: that two or more persons agreed to
           money laundering, 18          accomplish a common and unlawful plan to
           U.S.C. § 1956(h)              violate 18 U.S.C. Section 1956, as charged in
                                         the indictment; and
                                         Second, that the Defendant, knowing the
                                         unlawful purpose of the plan, willfully joined in
                                         it;

 23 - 32   Money laundering, 18          First: that the Defendant knowingly transported
           U.S.C. § 1956(a)(2)(A)        transmitted, or transferred a monetary
                                         instrument or funds from a place in the United
                                         States to or through a place outside the United
                                         States or to a place in the United States from or
                                         through a place outside the United States or
                                         attempted to do so; and
                                         Second: that the Defendant engaged in the
                                         attempted transportation, transmission or
                                         transfer with the intent to promote the carrying
                                         on of "specified unlawful activity."

 33        Conspiracy to impede and      First: two or more persons agreed to commit an
           impair the Internal           offense against the United States or to defraud
           Revenue Service and to        the United States;
           File False Return of          Second: the defendant's knowing and voluntary
           Organization Exempt from      participation in the conspiracy; and
           Income Tax, 18 U.S.C. §       Third: the commission of an overt act in
           371                           furtherance of the conspiracy.




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 34 - 36   Filing false returns of     First: That the defendant signed an income tax
           Organization Exempt from    return that contained a written declaration that it
           Income Tax, 26 U.S.C. §     was made under penalties of perjury;
           7206(1)                     Second: That in this return the defendant falsely
                                       stated that the payments shown were going to
                                       Program Services when in the fact the payments
                                       were going to Hamas;
                                       Third: That the defendant knew the statement
                                       was false;
                                       Fourth: That the false statement was material;
                                       and
                                       Fifth: That the defendant made the statement
                                       willfully, that is, with intent to violate a known
                                       legal duty.




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                              IV. EVIDENTIARY ISSUES

       A.     Expert Testimony

              1. The Government’s Experts

       As set forth in the government’s expert notices, the government will call several

experts to explain the history and evolution of the Hamas organization, its structure,

central cast, and the goals and objectives of the organization; the charitable organizations

in the West Bank and Gaza that constitute Hamas’ social infrastructure and their control

by Hamas; and the methodology by which terrorist organizations, including Hamas, use

charity to achieve the overall terrorist objectives of the organizations. These experts are

addressed in the government’s response to the Defendants’ Joint Motion in Limine and

for a Daubert Hearing [ecf # 1123].

       Judge Fish conducted Daubert hearings with respect to Dr. Matthew Levitt and the

ISA Witness, and found both to qualify as experts. Defendants do not challenge the

qualifications of Dr. Bruce Hoffman, an expert that the government did not call in the

previous trial, but have instead stated that they challenge his “methodology.”

       Rule 703 of the Federal Rules of Evidence codifies the commonly accepted

principle that an expert’s opinion may be based on otherwise inadmissible material, so

long as it is of the type reasonably relied upon by other experts in the field. See United

States v. Williams, 447 F.2d 1285, 1290-91 (5 th Cir. 1971) (en banc), cert. denied, 405

U.S. 954 (1972). As it did in the first trial, the government will present videos, posters



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and pictures through the testimony of its expert witnesses to assist the jury in evaluating

their testimony. In addition, there are items that the experts have reasonably relied upon

to reach their opinions and which will aid the jury in understanding their testimony. The

government will seek to admit into evidence many of these same items, and, pursuant to

Fed. R. Evid. 703, the Court should find that the probative value of these items in

assisting the jury to evaluate the experts’ opinions substantially outweighs any prejudicial

effect. See Fed. R. Evid. 703 (“Facts or data that are otherwise inadmissible shall not be

disclosed to the jury by the proponent of the opinion or inference unless the court

determines that their probative value in assisting the jury to evaluate the expert’s opinion

substantially outweighs their prejudicial effect.”); United States v. Gonzalez, 307 F.3d

906 (9 th Cir. 2002).

       B.      Co-Conspirator Statements

               1.       General Principles of Conspiracy Law

       The Federal Rules of Evidence provide that a “statement” is not hearsay if it “is

offered against a party” and “is a statement by a coconspirator of a party during the course

and in furtherance of the conspiracy.” Fed.R.Evid. 801(d)(2)(E).

       The admission of a coconspirator statement against a defendant is proper where the

government establishes, by a preponderance of the evidence; (1) that a conspiracy existed,

(2) that the coconspirator and the defendant against whom the coconspirator’s statement

is offered were members of the conspiracy, and (3) that the statements were made during



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the course and in furtherance of the conspiracy.” United States v. Ruiz, 987 F.2d 243, 247

(5 th Cir. 1993) (citation omitted).

       The trial court’s decision to admit a statement as a coconspirator’s statement is

reviewed by the appellate court under the abuse of discretion standard. United States v.

Manzella, 782 F.2d 533, 544-46 (5 th Cir. 1986). All findings of fact made by the trial

court in its determination regarding the coconspirator exception are to be accepted by the

appellate court unless clearly erroneous.

       In determining the admissibility of a coconspirator’s statement, the court may

consider the coconspirator’s statement itself to decide whether a conspiracy existed and

whether the defendant participated in it. United States v. Broussard, 80 F.3d 1025, 1038

(5 th Cir. 1996) citing Bourjaily v. United States, 483 U.S. 171, 175 (1987). In rejecting a

per se rule against considering these statements when ruling on their admissibility, the

Supreme Court has reasoned that presumptively unreliable hearsay may become probative

if the statements are considered in light of other evidence in the case. Chief Justice

Rehnquist, writing for the Court in Bourjaily, explained:

       First, out-of-court statements are only presumed unreliable. The presumption may
       be rebutted by appropriate proof . . .. Second, individual pieces of evidence,
       insufficient in themselves to prove a point, may in accumulation prove it . . ..
       Taken together, these two propositions demonstrate that a piece of evidence,
       unreliable in isolation, may become quite probative when corroborated by other
       evidence. A per se rule barring consideration of these hearsay statements during
       preliminary fact-finding is not therefore required. Even if out-of-court declarations
       by co-conspirators are presumptively unreliable, trial courts must be permitted to
       evaluate these statements for their evidentiary worth as revealed by the particular
       circumstances of the case. Courts often act as fact-finders, and there is no reason

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       to believe that courts are any less able to properly recognize the probative value of
       evidence in this particular area.

107 S.Ct. at 2781 (emphasis in original). As the italicized segment of the above excerpt

demonstrates, the heart of the Chief Justice's reasoning is that while out-of-court

statements are only presumed unreliable, they may nevertheless become quite probative

when corroborated by other evidence, id. at 2781, and therefore may be considered along

with the other evidence in ruling on the admissibility of the hearsay statement.

       Some of the documents that the government intends to offer into evidence will not

always identify the speaker or author of a document. The lack of such information does

not prevent the admission of such evidence.

       There will be instances during the trial when the government will seek to introduce

evidence as the acts or statements of a coconspirator or joint venturer, which acts were

committed, or statements made, prior to the time that one of the defendants has been

shown to be a member of a conspiracy or joint venture. An example of these type of

documents are those that were seized from the home of co-conspirator Elbarrasse. As

Judge Fish found during the first trial, these documents should be admitted as co-

conspirator statements, even as against those defendants who later joined the conspiracy.

The rationale behind the admissibility of such evidence is the well-established rule that

one who joins an ongoing conspiracy is deemed to have adopted the prior acts and

declarations of conspirators made after the formation and in furtherance of the

conspiracy. United States v. Barksdale-Contreras, 972 F.2d 111, 114 (5 th Cir. 1992).

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       In addition to establishing the existence of the conspiracy and the defendant’s and

co-conspirator’s membership in the conspiracy, Fed. R. Evid. 801(d)(2)(E) also requires

that a statement be made in furtherance of the conspiracy. United States v. Solis, 299

F.3d 420, 443 (5 th Cir.) cert. denied, 537 U.S. 1060, 123 S.Ct. 640, 154 L.Ed.2d 543 and

cert denied, 537 U.S. 1094, 123 S.Ct. 705, 154 L.Ed.2d 642 (2002). A trial court’s

finding that a statement was made in furtherance of a conspiracy is a factual finding,

which may be reversed only if clearly erroneous. United States v. Green, 180 F.3d 216,

222 (5 th Cir. 1999).

       A statement is not in furtherance of a conspiracy unless it advances the ultimate

objects of the conspiracy. United States v. Cornett, 195 F.3d 776, 782 (5 th Cir. 1999)

(internal citation omitted). “Mere idle chatter” is not admissible under Rule 801(d)(2)(E).

Id. The courts have consistently held, however, that the “in furtherance” requirement is

not to be construed too strictly; otherwise, the purpose of the exception would be

defeated. United States v. Burton, 126 F.3d 666, 674 (5 th Cir. 1997). Accordingly, the

following types of statements have been found to be “in furtherance of” a conspiracy:

a statement that identifies the role of one co-conspirator to another (United States v.

Magee, 821 F.2d 234, 244 (5th Cir.1987)); statements conveying information that could

have been intended to affect future dealings between the parties (United States v. Patton,

594 F.2d 444, 447 (5th Cir.1979)); puffing, boasts, and other conversation when used by

the declarant to obtain the confidence of one involved in the conspiracy ( [United States



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v.] Miller, 664 F.2d [94,] 98 [ (5th Cir.1981) ] ); statements which are puffing or boasts,

but which are used to obtain the confidence of the person toward whom the statement is

directed (United States v. Johnson, 872 F.2d 612, 623 (5th Cir.1989)).Burton, 126 F.3d at

675 (internal quotation marks, brackets, and ellipses omitted). See also United States v.

Flores, 63 F.3d at 1377 (statements made to inform conspirators of progress of conspiracy

or made “in order to encourage loyalty and obedience among the conspirators” are in

furtherance of the conspiracy).

              2.     Breadth of Conspiracy

       As explained in the summary of the case, the focal point of this case is the

designated terrorist group Hamas, also known as the Islamic Resistance Movement or

sometimes simply referred to by its followers as “the Movement.” Although the

indictment in this case charges the seven named individual defendants and the Holy Land

Foundation for Relief and Development, it will be obvious that the defendants were not

acting alone. As noted in the case summary, the defendants were operating in concert

with a host of individuals and organizations dedicated to sustaining and furthering the

Hamas movement. Several of the individuals who hold leading roles in the operation of

Hamas are referenced by name in the indictment.

       The object of the conspiracy was to support Hamas. The support will be shown to

have taken several forms, including raising money, propaganda, proselytizing, recruiting,

as well as many other types of actions intended to continue to promote and move forward



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Hamas’s agenda of the destruction of the State of Israel, the establishment of an Islamic

state in its place, and disruption of the peace process led by the United States.

       In terms of the organizations comprising the conspiracy, the following non-

inclusive collection of organizations are within the conspiracy: The International

Muslim Brotherhood (the parent organization of Hamas); Hamas and its international

support network; the United States-based Muslim Brotherhood and its sub-group the

Palestine Committee; organizations overseen by the Palestine Committee, such as the

defendant Holy Land Foundation (HLF), the Islamic Association for Palestine (IAP), and

the United Association for Studies and Research (UASR), as well as other organizations.

See Superceding Indictment, pp. 6-7. Each of the above organizations, as well as its

members, representatives and supporters were participants in the same joint venture or

conspiracy -- the conspiracy to support Hamas.

              3.     Co-conspirator statements made after the latest date in the
                     indictment.

       The dates of the actions alleged in the indictment are not controlling for

determining the duration of a conspiracy. The indictment, in fact, alleges that the

conspiracy at issue continued until the date of the return of the indictment. The Supreme

Court addressed the issue of the duration of a conspiracy in Grunewald v. United States,

353 U.S. 391, 77 S.Ct. 963, 970, 1 L.Ed.2d 931 (1957). The Court stated, “[T]he crucial

question . . . is the scope of the conspiratorial agreement, for it is that which determines

both the duration of the conspiracy, and whether the act relied on as an overt act may

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properly be regarded as in furtherance of the conspiracy. Id. at 970. “Even a unilateral

act by a single coconspirator, if in furtherance of the purposes of the agreement, is

sufficient under the terms of § 371" to extend the duration of the conspiracy. United

States v. Girard, 744 F.2d 1170, 1174 (5 th Cir. 1984) (citations omitted).

              4.     Documents and Materials Seized During the Search of the Home
                     of Ismael Elbarasse, 4502 Whistler Court, Annandale, Va., on
                     August 21, 2004

        As noted above, Judge Fish admitted into evidence the documents seized from the

home of Ismael Elbarasse. See Order (oral), Sept. 4, 2007. This Court should do the

same.

        On August 21, 2004, agents of the FBI executed a search warrant at 4502 Whistler

Ct., Annandale, Virginia, the residence of Ismail Elbarasse. Elbarasse was an associate

and joint bank account holder of unindicted co-conspirator Mousa Abu Marzook. During

the first trial, the government offered into evidence selected documents and other items

seized from Elbarasse’s home, such as audio and video tapes. The audio cassette tapes

contain the recorded statements of co-conspirators to the defendants in this case. The

Elbarasse documents lay out the origins, creation and structure of the Muslim

Brotherhood and the Palestine Committee in the United States. They specifically place

the HLF within the Palestine Committee, including its mission of supporting Hamas.

These documents are corroborated by other evidence, including documents seized from




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co-conspirator Abdelhalim Ashqar, the Philadelphia Conference, and other intercepted

phone calls.

       Although many of the Elbarasse documents pre-date January 25, 1995, the date

that Hamas was first designated as a terrorist organization, Rule 801(d)(2)(E), as

described above, authorizes the admission of statements of persons who were members of

a joint venture as well as a criminal conspiracy. See United States v. Saimiento-Rozo, 676

F.2d 146, 149-150 (5 th Cir. 1982)(“it is not necessary that the conspiracy upon which the

admissibility of [the] statements is predicated be the conspiracy charged. * * * Nor need

the conspiracy or agreement be criminal in nature; it may be in the form of a joint

venture”); United States v. Postal, 589 F.2d 862, 886 (5 th Cir. 1979)(noting that

801(d)(2)(E) “was meant to carry forward the universally accepted doctrine that a joint

venturer is considered a coconspirator for the purposes of this rule even though no

conspiracy has been charged.”); United States v. Gil, 604 F.2d 546, 549 (7 th Cir. 1979)

(“The co-conspirator exception to the hearsay rule . . . is merely a rule of evidence

founded, to some extent, on concepts of agency law. It may be applied in both civil and

criminal cases . . . Its rationale is the common sense appreciation that a person who has

authorized another to speak or to act to some joint end will be held responsible for what is

later said or done by his agent, whether in his presence or not.”); see also United States v.

Layton, 855 F.2d 1388 (9th Cir.1988).




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              5. Al-Zaytouna / Ila Falestine

       As described above, and as the government established at the last trial, the

defendants, through the HLF, were engaged in a conspiracy to support Hamas through

their membership in the Palestine Committee, an organization created by the U.S. branch

of the Muslim Brotherhood to assist Hamas, which itself is the Palestinian branch of the

Muslim Brotherhood. Along with the HLF, whose function was to raise funds on behalf

of Hamas, the Palestine Committee oversaw the Islamic Association for Palestine

(“IAP”), the United Association for Studies & Research (“UASR”) and, later on, the

Council on American Islamic Relations (“CAIR”).

       The function of the IAP was to be the media arm of Hamas in America. In

fulfilling that function, the IAP published the Hamas charter in English and distributed

Hamas communiques. The IAP also published, each month, Arabic language magazines

called Al Zaytouna and Ila Falestine which focused on Palestinian issues with an

emphasis on support for Hamas. See, e.g., Govt. Exh. 3-23 p. 6 (Elbarasse Search-14).

Govt. Exh. 3-23, a Palestine Committee document, states, under the heading of

“achievements of the Islamic Association for Palestine,” that the IAP issued “9 issues

from Al-Zaytouna magazine, 4 issues from the Palestine Monitor newspaper in English,

one issue from Ila Falestine and reprinting and distributing 6 statements for Hamas.” Id

at 6. One issue contained an article about Hamas in which the readers were encouraged

to donate to the HLF. Another issue included a poem written by the defendant Shukri



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Abu Baker that praised Hamas. The government intends to offer into evidence several

redacted issues of the Al Zaytouna and Ila Falestine magazines as co-conspirator

statements.

       The periodicals are self-authenticating pursuant to Fed. R. Evid. 902, which states

in part that, “[e]xtrinsic evidence of authenticity as a condition precedent to admissibility

is not required with respect to the following...(6) Newspapers and Periodicals. Printed

materials purporting to be newspapers or periodicals.” Newspapers and magazines are

commonly accepted in this Circuit as self-authenticating and do not require any additional

evidence to authenticate. Woolsey v. National Transportation Safety Board, 993 F.2d

516, 520 (5 th Cir. 1993); Snyder v. Whittaker Corporation, 839 F.2d 1085, 1089 (5 th Cir.

1988)(“However, Fed. R. Evid. 902(6) dispenses with ‘extrinsic evidence of authenticity’

for printed articles from periodicals.”); Stahl v. Novartis Pharmaceuticals Corp., 283

F.3d 254, 271 fn. 10 (5 th Cir. 2002); Hicks v. Charles Pfizer & Company, Inc., 446 F.

Supp. 2d 799, 805 (E.D. Tx. 2005)(“Under the Federal Rules of Evidence, newspaper

articles are self-authenticating.”).

       In addition, the magazines are not hearsay for at least two reasons. The articles

and advertisements were created and published by the IAP in order to generate support

for Hamas. As such, they are co-conspirator statements made in furtherance of the

conspiracy pursuant to Fed. R. Evid. 801(d)(2)(e), or statements of a defendant pursuant

to Fed. R. Evid. 801(d)(2)(A), depending on the particular item. In the alternative, the



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articles are not being offered for their truth but instead to show the state of mind of the

defendants and their co-conspirators, in the manner to which they hold themselves out to

the target audience of the magazine. For these reasons, issues of Al Zaytouna and Ila

Falestine should be admitted into evidence.

        C.      Documents Admissible Pursuant To Fed. R. Evid. 807

        During the first trial, the government sought to introduce documents seized by the

Government of Israel from the offices of the Palestinian Authority. These documents

include internal memoranda identifying the financial sources of Hamas, including the

HLF; PA intelligence documents discussing how Hamas uses schools to recruit

Palestinian youth; lists of Hamas institutions closed by the PA, including zakat

committees supported by the defendants; and other similar documents. The documents

were authenticated by the IDF officer Major Lior. With respect to the hearsay contained

within the documents, the government argued that Rule 807 applied.2 Rule 807 provides

that

        [a] statement not specifically covered by Rule 803 or 804 but having
        equivalent circumstantial guarantees of trustworthiness, is not excluded by
        the hearsay rule, if the court determines that (A) the statement is offered as
        evidence of a material fact; (B) the statement is more probative on the point
        for which it is offered than any other evidence which the proponent can
        procure through reasonable efforts; and (c) the general purposes of these
        rules and the interests of justice will best be served by admission of the
        statement into evidence. However, a statement may not be admitted under


        2
           On April 9, 2007, prior to the first trial, the government provided the defense with a notice of
intent to admit evidence pursuant to Rule 807. The government renewed that notice at the time it
renewed its prior motions and notices [ecf # 1035, Exh. A, p.7.].

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       this exception unless the proponent of it makes known to the adverse party
       sufficiently in advance of trial or hearing to provide the adverse party with a
       fair opportunity to prepare to meet it, the proponent’s intention to offer the
       statement and the particulars of it, including the name and address of the
       declarant.


       The government argued specifically that the PA documents were trustworthy

because it was in the interest of Yassir Arafat and Fatah, who operated the PA at the time

the PA documents were created, to accurately report the movements and activities of an

organization that was trying to undermine its authority. United States v. Phillips, 219

F.3d 404, 419 (5 th Cir. 2000)(“In order to find a statement trustworthy, a court must find

that the declarant of the statement was particularly likely to be telling the truth when the

statement was made.”). As discussed above, Hamas’ agenda was not only to eliminate

Israel, but also to sabotage the Oslo Accords and to replace the secular PA regime with an

Islamist government that would control all of Israel, the West Bank and Gaza.

       Judge Fish declined to admit the seized PA documents under the residual hearsay

rule. Tr. Transcript, 8/14/07 at 107-08. Since that time, however, events in the West

Bank and Gaza have proven the reliability of the documents. In December 2007, the PA

reorganized the entire zakat committee structure in the West Bank in an effort to take

control of the Hamas social infrastructure. Hamas correctly interpreted the PA measures

as an attack on its charitable institutions. These widely reported and public measures

validate the information contained in the seized documents that the government seeks to

admit, information that identifies some of the committees and individuals known by the

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PA to be Hamas. Given that these documents seized from the PA have proven to be

trustworthy, and their probative value is self-evident, the Court should now permit their

admission pursuant to Fed. R. Evid. 807. See generally Government’s Supplemental

Trial Brief [ecf #757]; Response to Defendants' Objections Regarding Documents from

the Government of Israel [ecf #763].

       D. Federal Rule of Evidence 106

       During the prior trial, the government admitted hundreds of documents into

evidence. The vast majority of documents were admitted in their entirety through two

FBI Special Agents who were questioned about the contents of the documents and were

often asked to read certain passages. On many occasions, the defendants requested,

pursuant to Rule 106 of the Federal Rules of Evidence (“106"), to have additional

portions of the document read by the agent during direct examination. See, e.g.

Testimony of Agent Burns, 8/1/07 p. 120-21, 124, 155-56, 160, 162; 8/6/97 p. 57, 69,

8/7/07 p. 34, 94, 99; 8/27/97 p. 197, 199, 215; 8/8/07 p. 11, 71. Although this tactic was

disruptive to the government’s presentation, initially, as a courtesy, the government did

not contest defendants’ requests to have the witness read additional portions. However,

when the defendants raised Rule 106 continuously, the government objected and argued

that the defendants were improperly using Rule 106. The Court overruled the

government’s objection. In the upcoming trial, this Court should ensure that Rule 106 is




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invoked only where appropriate and applicable, and not permit defendants to disrupt the

presentation of evidence under the guise of Rule 106.

       Rule 106 states that, “[w]hen a writing or recorded statement or part thereof is

introduced by a party, an adverse party may require the introduction at that time of any

other part or any other writing or recorded statement which ought in fairness to be

considered contemporaneously with it.” The purpose of the rule is to put into context an

admitted written or recorded statement in order to “secure for the tribunal a complete

understanding of the total tenor and effect of the utterance.” Beech Aircraft Corporation

v. Rainey, 488 U.S. 153, 171 (1988) (citation omitted). In essence, the additional part, or

other document, is being admitted for the purposes of putting into context, explaining or

qualifying what was said in the original excerpt or document. The intent of the rule is not

to require additional sections of a document, already admitted in its entirety and subject to

cross-examination, to be read by a witness on direct examination at the behest of a

defendant.

       The Fifth Circuit recently stated that “Fed. R. Evid. 106 seeks to relieve this

tactical disadvantage by permitting an opposing party to combat the unquestioned ‘cold

transcript’ at the moment of its introduction by entering into evidence the remainder.”

(italics added) United States v. Garcia, 530 F.3d 348, 354 (5 th Cir. 2008). Garcia

identifies the term “introduction” as contemplated by the Rule to mean entering into

evidence, not requiring already admitted evidence to be read.



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       The government has found no case law citing 106 that requires an adverse party to

compel a witness to read portions of an already admitted document prior to that adverse

party’s opportunity to question the witness. Specifically, in this matter, when the

government moves into evidence a complete document, but then only questions the

witness about a portion of that document, the defendants are not entitled under 106 to

require an additional portion of the same document or transcript to be read. By admission

of the complete document, the defendants have an opportunity to question the witness

about other portions of the exhibit during cross-examination.

       In circumstances where 106 may be applicable -- i.e., when the government admits

a redacted transcript of an intercepted telephone call -- the defendants must first establish

that the additional portions of the item that they wish to introduce are relevant and

explanatory of the already admitted passages. United States v. Garrett, 716 F. 2d 257,

272 (5 th Cir. 1983); United States v. Abrams, 947 F. 2d 1241, 1250 (5 th Cir. 1991). “The

passages sought to be admitted by the defendants must be relevant and necessary to

qualify, explain or place into context the portion already introduced.” United States v.

Branch, 91 F.3d 699, 728 (5 th Cir. 1996). A mere request to have additional portions

admitted, without more, is insufficient to meet the requirements of the rule.

       As a practical matter, the government has provided to the defense the redacted

transcripts of intercepted telephone calls and seized videotapes that the government

anticipates offering into evidence. If the defendants wish to play additional portions of



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the videos or calls under Rule 106, the defendants should notify the government as soon

as possible, and certainly prior to the testimony of the admitting witness (in all likelihood,

FBI Special Agent Burns). If the government agrees that the additional portions meet the

requirements of Rule 106, and the government receives sufficient notice, the government

will amend the transcripts and accompanying tapes prior to admission.

       E. Statements of the Defendants

       As it did in the last trial, the government intends to introduce statements of several

of the defendants. Among the statements to be introduced are:

1)     statements made by the defendant Mohamed el-Mezain during interviews with the
       FBI;

2)     statements made by the defendant Mufid Abdulqader during an interview with the
       FBI;

3)     excerpts from a sworn declaration by the defendant Shukri Abu Baker which was
       filed in conjunction with the civil lawsuit HLF brought against the government
       seeking to overturn its designation as a Specially Designated Terrorist and
       Specially Designated Global Terrorist;

4)     excerpts from a sworn deposition given by the defendant Shukri Abu Baker in the
       case styled Stanley Boim, et al, v. Quranic Literacy Institute, et al, in the U.S.
       District Court of the Northern District of Illinois, case number 00-C-2905.

5)     excerpts from a deposition given by the defendant Mohamad El-Mezain in the
       case styled Stanley Boim, et al, v. Quranic Literacy Institute, et al, in the U.S.
       District Court of the Northern District of Illinois, case number 00-C-2905.


       The government contends that certain of the statements made by the defendants in

these various settings were true. Those statements are admissible as to that defendant as


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the statements of a party opponent under Rule 801(d)(2) of the Federal Rules of

Evidence.

       Certain statements made by the defendants in the above referenced settings were

false. These statements are admissible as to all defendants on two grounds. First, it is

part of the government’s allegations that the false statements were a part of the

conspiracies among and between the defendants and others, and that one of the objects of

the conspiracy was to conceal the conspiracy’s existence and true purpose. The making

of false statements by the defendants, either in interviews with law enforcement

authorities or in other contexts in which a true answer would risk exposing the existence

and true nature of the conspiracy, are acts made in furtherance of that conspiracy. These

false statements are admissible as the statements made by a coconspirator during the

course of and in furtherance of a conspiracy. Fed. Rule of Evidence 801(d)(2)(E).

       Second, such statements are also admissible in that, because the statement is not

true, it is not being offered for the truth of the matter contained therein and is therefore

not hearsay. The statement will be offered by the government to show that the statement

was made by the declarant, not that the contents of the statement are true. See United

States v. Holmes, 406 F.3d 337, 349 (5th Cir.), cert. denied 126 S.Ct. 375 (2005).

       The above referenced statements are not all of the statements that may fall within

this category.. Other instances of defendants’ statements or testimony may arise during




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the trial. The government will establish the admissibility of those statements at the

appropriate time.

                                   V. CONCLUSION

       The above is in addition to the government’s earlier trial briefs describing the

kinds of evidence that the government intends to introduce at trial and the bases for

admission. To the extent additional evidentiary issues arise that merit the Court’s

attention, the government will supplement this submission as appropriate.

Dated: Sept. 12, 2008                     Respectfully submitted,

                                          RICHARD B. ROPER
                                          United States Attorney


                                       By: /s/ James T. Jacks
                                          James T. Jacks
                                          Barry Jonas
                                          Elizabeth J. Shapiro
                                          Assistant United States Attorney
                                          1100 Commerce St., Third Floor
                                          Dallas, Texas 75242
                                          214.659.8600
                                          214.767.2898 (facsimile)
                                          Texas State Bar No. 10449500
                                          jim.jacks@usdoj.gov




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                               CERTIFICA TE OF SERVICE

       I hereby certify that on September 12, 2008, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:


 Nancy Hollander                               Joshua L Dratel
 Freedman Boyd Daniels Hollander               Law Office of Joshua L Dratel
 Goldberg & Ives                               2 Wall St, 3rd Floor
 20 First Plaza, Suite 700                     New York, NY 10005
 Albuquerque, NM 87102


 John W. Boyd                                  Marlo P Cadeddu
 Freedman Boyd Daniels Hollander               Law Office of Marlo P Cadeddu
 Goldberg & Ives                               3232 McKinney Ave, Suite 700
 20 First Plaza, Suite 700                     Dallas, TX 75204
 Albuquerque, NM 87102


 Linda Moreno                                  Greg Westfall
 Law Office of Linda Moreno                    Westfall Platt & Cutrer
 2403 N. Washington Ave., # 320                Mallick Tower
 Dallas, TX. 75204                             One Summit Ave, Suite 910
                                               Fort Worth, TX 76102




                                           /s/ James T. Jacks
                                          JAMES T. JACKS
                                          Assistant United States Attorney




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